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1                                                           Honorable Judge Benjamin H. Settle
                                                                 Honorable David W. Christel
2

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6                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
7                                     AT TACOMA
8    JESUS CHAVEZ FLORES,
                                                        NO. 3:18-cv-05139-BSH-DWC
9                                     Plaintiff,
                           v.
10                                                       DECLARATION OF THERESA
     UNITED STATES IMMIGRATION AND                       DEMONTE IN SUPPORT OF
11   CUSTOMS ENFORCEMENT, et al.,                        PLAINTIFF’S MOTION FOR AN
                                                         EXTENSION OF TIME TO
12                                   Defendants.         RESPOND TO GEO
13                                                       DEFENDANTS’ MOTION FOR
                                                         SUMMARY JUDGMENT
14
            I, Theresa DeMonte, declare under penalty of perjury that the following statements
15

16   are true and correct and based upon my personal knowledge:

17          1.      I am one of the attorneys of record for Plaintiff Jesus Chavez Flores in the
18   above-captioned matter and am competent to testify to the matters set forth herein.
19
            2.      Attached hereto are true and correct copies of the following documents:
20
            Exhibit A:     An email sent on July 11, 2018, involving myself and Joan Mell,
21
     counsel for GEO Defendants.
22

23          DATED this 12th day of July, 2018.

24                                         By:
                                                   _s/ Theresa DeMonte_____________
25                                                 Theresa DeMonte, WSBA # 43994

26
27                                                                                    LAW OFFICES OF

     Declaration of Theresa DeMonte in support of Plaintiff’s            MCNAUL EBEL NAWROT & HELGREN PLLC
                                                                                600 University Street, Suite 2700
     Motion for Extension of Time to Respond to GEO                             Seattle, Washington 98101-3143
     Defendants’ Motion for Summary Judgment                                             (206) 467-1816
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